                 Case: 1:15-cr-00399 Document #: 400 Filed: 08/03/18 Page 1 of 10 PageID #:5488



                                 LINITED STATES DISTRICT COURT
                                                           Northern District of Illinois


               UNITED STATES OF AMERICA                                             JUI}GMENT IN A CRIMINAL CASE
                          v.

                 THEODORE J WOJTAS, JR.                                             Case Number:              I : l5-CR-00399(2)

                                                                                    USM Number:               48043-424



                                                                                    Carolyn Pelling Gurland
                                                                                    Def,endant's Attomey



THE DEFENDANT:
E pleaded guilty to count(s)
EI pleaded nolo contendere to count(s)           which was accepted by the court.
E   was found guilty on counts 7, 14, 16,       18,   l9 of the Indictment after a plea of not guilry.

The defendant is adjudicated guilty of these offenses:
Title & Section / Nature of Offense                                                                        Offense Endq4           Count
l8:l34l.F Frauds and Swindles                                                                              t2t3U2009               7
I8:1341 .F Frauds and Swindles                                                                             12t3U2009               t4
I8:1343.F Fraud By Wire, Radio, Or Television                                                              t213U2009               l5
18:l34l.F Frauds and Swindles                                                                              12t3U2009               t7
I 8: I 341 .F Frauds and Swindles                                                                          t2t31t2009              l8
1 8:l 341 .F Frauds and Swindles                                                                           t2t31t2009              l9

The defendant is sentenced as provided in pages 2 through        l0 of this judgment. The sentence is imposed pursuant to the Sentencing Reform
Act of 1984.

E ttre defendant   has been found not guilty on count(s)

tr Coun(O       dismissed on the motion ofthe United States.

It is ordered that the defendant must notify the United Staies Attomey for this District within 30 days ofany change ofname, residence, or
mailing address until all fines, rcstitution, costs, and special assessments imposed by thisjudgnent are fully paid. Ifordered to pay
restitution, the defendant must notiry the court and United States Attomey ofmaterial changes in economic circumstanc€s.


                                                                                        July 24,2018
                                                                                        Dateof@

                                                                                        Signature of Judge
                                                                                        Manish S. Shah, United States District Judge

                                                                                        Name and Title of Judge
                  Case: 1:15-cr-00399      Document #: 400 Filed: 08/03/18 Page 2 of 10 PageID #:5489
                                . Criminal C.s€
ILND 2458 (Rev. 032912018) Judgncnt in
shect 2   - lmDrisonment                                                                          Judsnent - PagE 2 of l0
DEFENDANT: THEODORE J WOJTAS, JR.
CASENUMBER: l:15-CR-00399(2)
                                                                 IMPRISONMENT
The defendant is hercby committed to the custody ofthe United States Bureau ofPrisons to be imprisoned for a toal term of:
66 months on Counts 7, 14,16, 17, 18, and 19 ofthe Indictment, to run concurrent. The costs of incarceration ar€ waived.

tr          The court makes the following recommendations to the Bureau of Prisons: defendant be designated to CI Taft.

tr          The defendant is remanded to the custody of the United States Marshal.

tr          The defendant shall surrender to the United States Marshal for this district:

            tr
     tr          as   notified by the United States Marshal.

     tr          The defendant shall suffender for service of sentence at the institution designated by the Bureau of Prisons:

            tr         before 2:00 pm on December 5, 2018.

            tr         as   notified by the United States Marshal.

            tr         as   notified by the Probation or Preffial Services Office.




                                                                        RETURN

I have executed this judgment as follows:




Defendant delivered on                                                           at                                , with a certified copy of this
judgment.




                                                                                           I-JNITED STATES MARSHAL


                                                                                      By
                                                                                           DEPUTY UNITED STATES MARSHAL
                             Case: 1:15-cr-00399
ILND 2458 (Rev. 312912018) Judgment in
                                                      Document #: 400 Filed: 08/03/18 Page 3 of 10 PageID #:5490
                                          a Criminal Case
    -
Sheet 3        Supervised Release                                                                                                              Judgment- Page 3 of l0

DEFENDANT: THEODORE J WOJTAS, JR.
CASE NUMBER: l:15-CR-00399(2)

               MAI{DATORY CONDITIONS OF SUPERYISED RELEASE PURSUAI\T TO                                                              18 U.S.C $ 35E3(d)

Upon release from imprisonment, you shall be on supervised release for a term of:
$itrc   tll        lal   o   corfuu 7.   14"   td f,I {C m.                                              The costs of supervision are waived.

         You must report to the probation office in the district to which you are released within 72 houn ofrelease from the custody ofthe
Bureau of hisons. The court imposes those conditions identified by checkmarks below:



During the period ofsuperviscd relerse:
A         (I   )   you shall not commit another Federal, State, or local crime.
E         (2) you shall not unlawfully possess a controlled substance.
tr        (3) you shall attend a public, private, or private nonprofit offender rehabilitation program that has been approved by the courl                       if
                   an approved program is readily available within a 50-mile radius ofyour legal residence. [Use for a first conviction ofa
                   domestic violence crime, as defined in $ 3561(b).1
tr        (4)      you shall register and comply with all requirements of the Sex Offender Registration and Notification Act (42 U.S.C. S
                   16913).
A         (5) you shall cooperate in dre collection ofa DNA sample ifthe collection of such a sample is required by law.
E         (6) you shall refrain from any unlawful use of a controlled substance AND submit to one drug test within l5 days of release on
              supervised release and at least two periodic tests thereafter, up !o 104 periodic tEsts for use ofa controlled subsance during
                   each year of supervised release. [This mandatory condition may be ameliomted or suspended by the court for any defendant
                   ifreliable sentencing information indicates a low risk of future substance abuse by the defendant.I

  DISCRETIONARY CONDITIONS OF SUPDRVTSED RELEASE PURSUANT TO 18 U.S.C                                                                               S   3s63(b) ANn
                                                                           18 U.S.C $ 3s83(d)

Discretionary Conditions        The court orders that you abide by the following conditions during the term ofsupervised release because such
                                      -
conditions are reasonably related to the factors set forth in S !55!(gl(1) and (aY2)(B). (C). and (D): such conditions involve only such
deprivations of liberty or property as are reasonably necessary for the purposes indicated in $      (aX2) (B). (c). rnd (D): and such
                                                                                                                E
conditions are consistent with any pertinent policy statement issued by the Sentencing Commission pursuant to 28 U.S.C. 994r.
The court imposes those conditions identified by checkmarks below:



During the period ofsupervised releasc:
tr (l)                you shall provide financial support to any dependents iffinancially able.

tr e)                 you shall make restitution to a victim ofthe offense under        S   3556 (but not subject to the limitation of$ 3663(!) or
                      $ 3663A(cYlXA)).
tr (3)                you shall give to the victims ofthe offense notice pursuant to the provisions of$          !!!!,   as   follows:   ffi
E (4)                 you shall seek, and work conscientiously at, lawful employment or pursue conscientiously a course of study or
                      vocational training that will equip you for employment.
A (5)                 you shall refrain from engaging in a specified occupation, business, or profession bearing a reasonably direct relationship
                      to the conduct constituting the offense, or engage in such a specified occupation, business, or profession only to a stated
                      degree or under stated circumstances; (if checked yes, please indicate restriction(s))        ffiil.
E (6)                 you shall refrain from knowingly meeting or communicating with any person whom you know to be engaged, or
                      planning to be engaged, in criminal activity and from:
                         E   visiting the following type of places: ffi.
                         E   knowingly meeting or communicating wirh th€ following p"oor.'             *Wffi*.
A (D                  you shall refrain from     E   any or   E   excessive use ofalcohol (defined as   E   having a blood alcohol concentration greater
                      than 0.08); or  E       , or any use ofa narcotic drug or other controlled substance, as defined in $ t02 ofthe Controlled
                      Substances Act (2! U,S.C. $ !@), without a prescription by a licensed medical practitioner.
E (E)                 you shall refrain from possessing a firearm, destructive device, or other dangerous weapon.
tr (9) E                     you shall participate, at the direction ofa probation ofiicer, in a substance abuse treatment program, which may
                             include urine testing up to a maximum of l(M tests per year.
                      E      you shall participate, at the direction ofa probation officer, in a mental health treatment progam, which may include
                   Case: 1:15-cr-00399
ILND 2458 (Rev.3l29l20l8) Judgment in        Document #: 400 Filed: 08/03/18 Page 4 of 10 PageID #:5491
                                 a Criminal Case
    - Supervised Release
Sheet 3                                                                                                                          Judgment-Page4ofl0
DEFENDANT: THEODORE J WOJTAS, JR.
CASE NUMBER: 1 :15-CR-00399(2)
                    the use of prescription   medications'
              tr                                                                                                                           ;iii.ii::,,i:.:,.+:!
                   you shall participate, at the direction of a probation officer, in medical care; (if checked yes, please specifo: ;i;iii,i..,,,.)
tr    (10)    (intermiuent confinement): you shall remain in the custody of the Bureau of Prisons during nights, weekends, or other
              intervals of time, totaling                   [no more than the lesser of one year or the term of imprisonment authorized for the
              offense], during the first year of the term of supervised release (provided, however, that a condition set forth in $
              3563(bxl0) shall be imposed only for a violation of a condition of supervised release in accordance with g 35S3(eX2)
              and only when facilities are available) for the following period i i              ,.
u     (ll)    (community confinement): you shall reside at, or participate in the program of a community corrections facility
              (including a facility maintained or under contract to the Bureau of Prisons) for all or part of the term of supervised
              release, for a period of ill;,i;,,..,1,,i,i *onrnr.
tr    (12)    you shall work in community service for ,;,.,,,;l hours as directed by a probation officer.
tr    (13)    you shall reside in the following place or area: i, ;;.;,.;,,.,, o. refrain from residing in a specified place s1 31s3;-r.,i,;+t:ii
tr    (14)    you shall remain within the jurisdiction where you are being supervised, unless granted permission to leave by the court
              or a probation officer.
tr    (15)    you shall report to a probation officer as directed by the court or a probation officer.
tr    (   16) tr      you shall perrnit a probation officer to visit   you E   at any reasonable time or     E   as   specified:     ,

                      E   at home                E   at work                   E   at school                 EI at a community service location
                      E   other reasonable location specified by a probation ofiicer
              tr     you shall permit confiscation ofany conhaband observed in plain view ofthe probation officer.
tr (t7)       you shall notift a probation ofiic€r promptly, within 72 hours, ofany change in residence, employer, or workplace and,
              absent constitutional or other legal privilege, answer inquiries by a probation officer.
tr    (18)    you shall noti! a probation officer promptly, within 72 hours, ifarrested or questioned by a law enforcement officer.
tr    (l e)   (home confinement): you shall remain at your place ofresidence for a toal           offfimonths during nonworking hours.
              [This condition may be imposed only as an altemative to incarceration.]
              tr     Compliance with this condition shall be monitored by telephonic or electronic signaling devices (the selection of
                     which shall be determined by a probation officer). Electronic monitoring shall ordinarily be used in connection
                     with home detention as it provides continuous moniioring ofyour whereabouts. Voice identification may be used
                     in lieu ofelectronic monitoring to monitor home confinement and provides for random monitoring ofyour
                     whereabouts. Ifthe offender is unable to wear an elechonic monitoring device due to health or medicil reasons, it
                     is recommended that home confinement with voice identification be ordered, which will provide for random
                     checks on your whereabouts. Home detention with elecfonic monitoring or voice identification is not deemed
                     appropriate and cannot be effectively administered in cases in which the offender has no bona fide residence, has a
                     history ofviolent behavior, serious menal health problerns, or substance abuse; has pending criminal charges
                     elsewhere; requires frequent travel inside or outside the districq or is required to wor* more than 60 hours per
                     week.
              tr      You shall pay the cost ofelectronic monitoring or voice identification at the daily contactual rate, ifyou are
                      financially able to do so.
              tr     The Court waives the electronic/location monitoring component ofthis condition-
tr    (20)    you shall comply with the terms ofany court order or order ofan administrative process pursuant to the law ofa State,
              the District ofcolumbia, or any other possession or territory ofthe United States, requiring paymens by you for the
              support and maintenance ofa child or ofa child and the parent with whom the child is living.
tr    (21)    (deportation): you shall be surrendered to a duly authorized ofiicial ofthe Homeland Security Department for a
              determination on the issue ofdeportability by the appropriate authority in accordance with the laws under the
              Immigration and Nationality Act and the established implementing regulations. Ifordered deported, you shall not
              rcenter the United States without obtaining in advance, the express written consent oftlre Attomey deneral or the
              S€cr€tary ofthe Department of Homeland Security.
tr    (22)    you shall satisfr such other special conditions as ordered below.
tr    (23)    (ifrequired to register under the Sex Offender Registration and Notification Act) you shall submit at any rime, with or
              without a warrant, to a search of your person and any property, house, residence, vehicle, papen, computer, oorer
              electronic communication or data storage devices or medi4 and effects, by any law enforcement or probation omcer
              having reasonable suspicion concerning a violation ofa condition ofsupervised release or unlawful conduct by yo11, and
              by any probation officer in the lawful discharge ofthe officer's supervilion functions (see special conditions siciion).
tr    (24)    Other:
                     Case: 1:15-cr-00399
ILND 2458 (Rev.3l29l20l8) Judgment in
                                              Document #: 400 Filed: 08/03/18 Page 5 of 10 PageID #:5492
                                  a Criminal Case
    -
Sheet 3   Supervised Release                                         Judgment - Page 5 of l0

DEFENDANT: THEODORE J WOJTAS, JR.
CASE NUMBER: l:15-CR-00399(2)
SPECIAL CONDITIONS OF SUPERVISED RELEASE PURSUAI\T TO 18 U.S.C.3563(b)(22) and 35E3(d)
The court imposes those conditions identified by checkmarks below:



During the term ofsupervised release:
tr (l)          ifyou have not obtained   a high school diploma or equivalent, you shall participate in a ceneral Educational
                Development (GED) preparation course and seek to obtain a GED within the first year ofsupervision.
tr Q\           you shall participate in an approved job skill-training program at the direction of a probation officer within the first 60
                days ofplacement on supervision.
E (3)           you shall, if unemployed after the first 60 days ofsupervision, or ifunemployed for 60 days after termination or lay-off
                fiom employment, perform at least 20 hours of community service per week at the direction ofthe U.S. Probation Office
                until gainfully employed. The amount of community service shall not exceed      f    houn.
tr (4)          you shall not maintain employment wherc you have access to other individual's personal information, including, but not
                limited to, Social Security numbers and credit card numbers (or money) unless approved by a prbbation ofticer.
tr (5)          you shall not incur new credit charges or open additional lines ofcr€dit without the approval ofa probation officer unless
                you are in compliance with the financial obligations imposed by this judgment.
B (6)           you shall provide a probation officer with access to any requesled financial information necessary to monitor compliance
                with conditions of supervised release.
E (7)           you shall noti! the court ofany material change in your economic circumstances that might affect your ability to pay
                restitution, fines, or special assessments.
B (8)           you shall provide documentation to the IRS and pay taxes as required by law.
tr (9)          you shall participate in a sex offender treatment program. The specific program and provider will be determined by a
                probation officer. You shall comply with all recommended treatment which may include psychological and physiological
                testing. You shall maintain use ofall prescribed medications.
                tr      You shall comply with the requirements ofthe Computer and Intemet Monitoring hogram as administered by the
                        United States Probation Office. You shall consent to the installation ofcomputer monitoring software on all
                        identified computers to which you have access. The software may reshict and,/or record any and all activity on the
                        computer, including the capture ofkeystrokes, application information, Intem€t use history, anail
                        correspondence, and chat conversations. A notice will be placed on the computer at the time of installation to
                        wam others ofthe existence ofthe monitoring software. You shall not remove, tamper with, reverse engineer, or
                        in any way circumvent the softwar€.
                tr      The cost ofthe monitoring shall be paid by you at the monthly contractual rate,   ifyou   are financially able, subject
                        to satisfaction ofother financial obligations imposed by this judgment.
                tr      You shall not possess or use any device with access to any online computer service at any location (including
                        place ofemployment) without tle prior approval ofa probation officer. This includes any Intemet s€rvice
                        provider, bull*in board system, or any other public or private network or email syst€m.
                tr      You shall not possess any device that could be used for covert photography without the prior approval      ofa
                        probation officer.
                tr      You shall not view or possess child pomography. Iftlre treatment provider determines that ex[nsure to other
                        sexually stimulating material may be detrimental to the treatment process, or that additional conditions are likely
                        to assist the treatment process, such proposed conditions shall be promply presented to the cout, for a
                        determination, pursuant to lE U.S.C. $ 3583(e)(2), regarding whether to enlarge or otherwise modify the
                        conditions ofsupervision to include conditions consistent with the recommendations ofthe treatment provider.
                tr      You shall not, without the approval ofa probation officer and treatnent provider, engage in activities that will put
                        you in unsupervised private contact with any person under the age of 18, or visit locations where children
                        regularly congregate (e&, locations specified in the Sex!ffender Registration and Notification Act.)
                tr      This condition does not apply to your family membos: ffi       [Names]
                tr      Your employment shall be resficted to the district and division where you reside or are supervised, unless
                        approval is granted by a probation officer. Prior to accepting any form ofemploymentyou shall seek the approval
                        ofa probation officer, in order to allow the probation officer the opportunity to assess the level ofrisk to the
                        community you will pose ifemployed in a particular capacity. You shall not participate in any volunteer activity
                        that may cause you to come into direct contact with children except under circumstances approved in advance by
                        a   probation omcer and treatment provider.
                E       You shall provide the probation officer with copies ofyour telephone bills, all credit card statementyreceipts, and
                        any other financial information requested.
                      Case: 1:15-cr-00399
ILND 2458 (Rcv. 3292018) Judgnent in
                                               Document #: 400 Filed: 08/03/18 Page 6 of 10 PageID #:5493
                                   a Criminal Care
    -
Sh€et 3   Rcl..sc
           Superviscd                                                                                                     Judgment   -   Page 5   of l0
DEFENDANT: THEODORE J WOJTAS, JR.
CASE NUMBER: l:15{R-00399(2)
                 tr     You shall comply with all state and local laws pertaining to convicted sex offenders, including such laws that
                         impose restrictions beyond those set forth in this order.
tr    (10)       you shall pay any financial penalty that is imposed by this judgment that remains unpaid at the commencement of the
                 term of supervised release. Your monthly payment schedule shall be an amount that is at least ffifu4 of your net monthly
                 income, defined as income net of reasonable expenses for basic necessities such as food, shelter, utilities, insurance, and
                 employment-related expenses.
E     (l   l)    you shall not enter into any agreement to act as an informer or special agent ofa law enforcement agency withour the
                 permission ofthe couft.
tr 02)           you shall repay the United States "buy money" in the amount     of$         which you received during the commission of
                 this offense. (The Clerk ofthe Court shall remit the funds to         (include Agency and Address).)
tr    (13)       if the probation officer determines that you pose a risk to another person (including an organization or rnembers of the
                 community), the probation officer may require you to tell the person about the risk, and you must comply with that
                 instruction. Such notification could include advising the person about your record of arrests and convictions and
                 substance use. The probation officer may contact the person and confirm that you have told the person about the risk.
tr    (14)       Other:    i.,,,
                  Case: 1:15-cr-00399 Document #: 400 Filed: 08/03/18 Page 7 of 10 PageID #:5494
ILND 2458 (Rev.3l29l20l8) Judgment in aCriminalCase
Sheet 5 - Criminal Monetary Penalties                                                                                   Judgment   -   Page 7   of   10

DEFENDANT: THEODORE J WOJTAS, JR.
CASE, NUMBER: I :15-CR-00399(2)
                                            CRIMINAL MONETARY PENALTIES
The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                                             Assessment    JVTA Assessment*                         Fi                         Restitution
TOTALS                                          $600.00                  s.00                       $.00                  $14,745,882.97



tr    The determination of restitution is deferred until     . An Amended Judgment in a Criminal Case (Ao   245C)   will be entered after such

E     The defendant must mak€ restitution (including community restitution) to the following payees in the amount listed below.

      Ifthe d€fendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
      otherwise in the priority order or p€rcentage payment column below. However, puruant to 18 U.S.C. $ 3664(i), all nonfederal
      victims must be paid before the United States is paid.

     Restitution of S14,745,882.97    n:
         AMERICAN MORTGAGE NETWORK, TNC.
         RESTITUTION ADMIN/LEGAL DIVISO
         IO42I WATERIDGE CIRCLE
         SAN DIEGO, CA 92I2I
         $r s2,940.00

         AMERICAN MORTGAGE NETWORK, INC.
         RESTITUTION ADMTN/LEGAL DIVISO
         IO42I WATERIDGE CIRCLE
         SAN DIEGO, CA 92I2I
         $   102,460.00

         BANK OF AMERICA
         DONNA MCLAUCHLIN
         416I PIEDMONT PARKWAY, NC4.IO5
         GREENSBORO, NC 274I0
         $1,017,680.97

         BANK OF AMERICA, C/O COUNTRYWIDE BANK
         DONNA MCLAUCHLIN
         416I PIEDMONT PARKWAY, NOT-IOs
         GREENSBORO, NC 27410
         $2,264,230.00

         CHICAGO BANCORP INC.
         RESTITUTION ADMIN/LEGAL DIVISO
         3OO N ELIZABETH ST., CHICAGO,
         CHICAGO, IL 60607
         $78,210.00

         CITI MORTGAGE
         FRAUD PREVENTION & INVEST. MAN
         IOOO TECHNOLOGY DRIVE, MS 367
         O'FALLON, MO 63368
         $6r 7,360.00

         CITIGROUP C/O ABN AMRO MORTGAGE GROUP
         FRAUD PREVENTION & INVEST. MAN
         IOOO TECHNOLOGY DRIVE, MS 367
         O'FALLON, MO 63368
         t 101,460.00
                 Case: 1:15-cr-00399      Document #: 400 Filed: 08/03/18 Page 8 of 10 PageID #:5495
                              a Crimir.l C.s.
ILND 2458 (Rev.329/2018) Judgment in
                          Pcn.ltics
Shect 5 - Criminal Monetsry                                                                 Jud8mfit   -   P.gp 8   of l0
DEFENDANT: THEODORE J WOJTAS, JR.
CASE NUMBER: l:15-CR-00399(2)

         FEDERAL NATIONAL MORTGAGE ASSOCIATION (FANNIE MAE)
         ACCOLI'NTS RECEIVABLE
         14221 DALLAS PARKWAY, SUITE    IO
         DALLAS,TX75254
         $664,1 t5.00

         FEDERAL NATIONAL MORTGACE CORP (FREDDIE MAC)
         RESTITUTION ADMIN/LEGAL DIVISO
         82OO JONES BRANCH DRIVE, MS 20
         MCLEAN, VA 22102
         $1,123,295.00

         FIFTH THIRD MORTCACE COMP.
         RESTITUTION ADMIN/LEGAL DIVISO
         5O5O KINGSLEY DR., LEGAL ENTRY
         CINCINNATI, OH 45263
         s765,060.00

         FLACSTAR BANK
         RESTITUTION ADMIN/LEGAL DIVISO
         5I51 CORPORATE DRIVE, MS S7OO.
         TROY, MI 48098
         $924,000.00

         INLAND BANK AND TRUST
         RESTITUTION ADMIN/LEGAL DIVISO
         2805 BUTTERFIELD RD.
         OAK BROOK, IL 60523
         $64,769.00

         JP MORGAN CHASE BANK
         RESTITUTION ADMIN/LECAL DIVISO
         IOI5I DEARWOOD PARK BOULEVARD,
         JACKSONVILLE, FL 32256
         $93,800.00

         PNC BANK, C/O NATIONAL CITY MORTGAGE
         RESTITUTION ADMIN/LEGAL DIVI SO
         3OOFIFTH AVENUE
         PITTSBURGH, PA 15222
         $ 1,650,462.00

         SUNTRUST MORTCACE, INC
         RESTITUTION ADMIN/LECAL DIVISO
         7 ST. PAUL ST., SUITE 1660
         BALTIMORE, MD 21202
         $386,930.00

         WELLS FARGO BANK
         RESTITUTION ADMIN/LECAL DIVISO
         I TOO LINCOLN STREET, gTH FLOOR
         DENVER, CO 80203
         $3,994,410.00

         WELLS FARGO BANK, C/O AMERICAN SAVINGS
         RESTITUTION ADMIN/LEGAL DIVISO
         I TOO LINCOLN STREET, gTH FLOOR
         DENVER, CO 80203
                  Case: 1:15-cr-00399
ILND 2458 (Rev. 317912018) Judgment in
                                           Document #: 400 Filed: 08/03/18 Page 9 of 10 PageID #:5496
                               a Criminal Case
      - Criminal Monetary Penalties
Sheet 5                                                                                                                     Judgment   -   Page 9   of l0
DEFENDANT: THEODORE J WOJTAS, JR.
CASE NUMBER: 1: l5-CR-00399(2)
          $99,570.00

          WELLS FARGO BANK, C/O WACHOVIA MORTGACE
          RESTITUTION ADMIN/LECAL DIVISO
          I TOO LINCOLN ST., gTH FLOOR, M
          DENVER, CO 80203
          $645,131.00


     tr         R€stitution amount ordercd pursuant to plea agreement $

     tr         The defendant must pay interest on restitution and a fine ofmore than $2,500, unless tle restitution or fine is paid in full
                before the fifteenth day after the dat€ of the judgment, pursuant to  lt
                                                                                      U.S.C. $ 3612(0. All ofthe payment options on Sheet
                6 may b€ subject to penalti€s for delinquency and default, pursuant to lE U.S.C. S 3612{g).

                The court determined tlEt the defendant does not have the ability to pay intenest and it is order€d that:

                tr              the interest requirement is waived for the restitution"

                tr              the interest requirement for the        is modified as follows:

                The defendant's non-€xempt assets, ifany, are subject to immediate execution to satisry any outstanding restitution or frne
                obligations.

     * Justice for victims ofTrafficking Act of20l5, Pub. L. No. I l4-22.
     * Findings for the total amount of losses are required under Chlpt rs 109A, I10,      ll0A, and Il3Aof Title    18 for offenses committed
     on or after Sept€mber 13, 1994, but befor€ April 23, 1996.
                   Case: 1:15-cr-00399
ILND 2458 (Rev. 03/2912018) Judgment in
                                           Document #: 400 Filed: 08/03/18 Page 10 of 10 PageID #:5497
                                 a Criminal Case
      - Schedule of Payments
Sheet 6                                                                                                                                    Judgment    -   Page   l0 of l0
DEFENDANT: THEODORE J WOJTAS, JR.
CASE NUMBER: l:15-CR-00399(2)
                                                      SCHEI}ULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:


A         tr     Lump sum payment of fi14,746,482.97 due immediately.


                 tr       balance due not later   than        , or

                 a        balance due in accordance with      E   C,   E o, E   B, or    E   F below; or



B         tr     Payment to begin immediately (may be combined with             E   C,   E   D, or   E   F below); or


C         tr     Payment in   equal        (e.g. weeHy, nonthly, qaarterly) installments             of$            over a period   of   (e.g.,   mo   hs or years),    to
                 commenc€           (e.g., 30 or 60 days) after the date   ofthisjudgment; or

D         tr     Payment in   equal        (e.g. weeHy, nonthly, quuterly) installments              of$            over a period   of   (e.g-, months or     years),to
                 commence           (e.g., 30 or 60 doys) after release    from imprisonment to          a   term ofsupervision; or

E         tr     Payment during the t€rm ofsupervised release will commence              within
                                                                                            (e.g., 30 or 60 doyg after release fiom imprisonment.
                 The court will set the payment plan based on an assessment ofthe defendant's ability to pay at that time; or

f         I      Special instructions regarding the payment ofcriminal monetary penalties:
                 you shall pay any financial penalty that is imposed by thisjudgment that remains unpaid at the commencement ofthe term of
                 supervised release. Your monthly payment schedule shall be an amount that is at least                   po
                                                                                                               of your net monthly income,
                 defined as income net ofreasonable expenses for basic necessities such as food shelter, utilities, insurance, and employment-
                 rclated exp€nses,

Unless the court has expressly ordered otherwise, ifthisjudgment imposes imprisonment, payment of criminal monetary penalties is due
during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' lnmate Financial
Responsibility Progam, art made to the clerk ofthe court.

The defendant shall receive credit for all payments previously made toward any criminal monaary penalties imposed.

E         Joint and Several

Case      Number                                  Total   Amount                        Severel
                                                                                    Joint and                          Corresponding Peyee,       if
Defendrnt rnd Co-Defendant Names                                                    Amount                             Approprirte
(including defendrnt nu mber)




'*See above for Defendant and Co.Defendant Names and Case Numbers (rzcln ding defendant runDer), Total Amount, Joint ond Several
Amount, and corresponding payee, if appropriate..*

tr        The defendant shall pay the cost ofprosecution.


tr        The defendant shall pay the following court cost(s):


tr        The defendant shall forfeit the defendant's interest in the following property to the United States:

PaymenB shall be applied in the following ordcr: (l) assessment, (2) r€stitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost ofprosecution and court cost
